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August 17, 2020                                                          99 GARNSEY R OAD
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VIA CM/ECF                                                               DIRECT: 585.419.8621
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Hon. Lawrence J. Vilardo
United States District Judge
U.S. District Court – Western District of New York
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

       RE:     Deborah Laufer v. Preeti, LLC
               WDNY Case No.: 6:20-cv-06261-LJV

Dear Judge Vilardo:

        This firm represents Defendant, Preeti, LLC, in the above-captioned action. The parties
have agreed to, and this letter respectfully requests, an extension until September 28, 2020 of
the deadline to answer or otherwise respond to the complaint in this case. Defendant makes this
request to allow the parties time to discuss whether a resolution is possible before the Defendant
incurs the expense of responding to the Complaint. There have been no previous requests for
extension.

       Please do not hesitate to contact me if the Court requires additional information. Thank
you for your consideration.

                                                     Respectfully,


                                                     HARRIS BEACH PLLC

                                                     s/Scott D. Piper/

                                                     Scott D. Piper

SDP:kam

cc: Jonathan E. Staehr, Esq. (via CM/ECF)
